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                                                                  UNITED STATES DISTRICT COURT
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                                                    CENTRAL DISTRICT OF CALIFORNIA, EASTERN DIVISION
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                                       4    WESTERN RIVERSIDE COUNCIL                     Case No. EDCV 20-2164-GW-KKx
                                            OF GOVERNMENTS, a California
                                       5    Joint Powers Authority; CITY OF               ORDER STRIKING FINAL
                                            BEAUMONT, a public entity in the              PRETRIAL CONFERENCE AND
                                       6    State of California,                          TRIAL PURSUANT TO NOTICE
                                                                                          OF SETTLEMENT
                                       7                    Plaintiffs,
                                                                                          Judge: Honorable George H. Wu
                                       8          v.
                                       9    NATIONAL UNION FIRE
                                            INSURANCE COMPANY OF
                                       10   PITTSBURGH, PA, and DOES 1
                                            through 50, inclusive,
                                       11
                                                            Defendants.
                                       12
Gordon Rees Scully Mansukhani, LLP
   633 West Fifth Street, 52nd floor




                                       13
       Los Angeles, CA 90071




                                       14                                         ORDER
                                       15         After considering the Notice of Settlement filed by the parties, and for good
                                       16   cause shown, IT IS HEREBY ORDERED that the Final Pretrial Conference set for
                                       17   October 27, 2022, and the Trial set for November 8, 2022, are hereby stricken,
                                       18   pending dismissal of this case.
                                       19         The Court sets a status conference re settlement for December 12, 2022 at
                                       20   8:30 a.m. The parties are ot file a joint report or dismissal by December 8, 2022.
                                       21
                                       22   Dated: October 24, 2022                 By:
                                       23
                                                                                          Honorable George H. Wu
                                       24                                                 United States District Judge
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